                         IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION
                                           3:08cr134

UNITED STATES OF AMERICA                                     )
                                                             )
                  vs.                                        )              ORDER
                                                             )
MANUEL DE JESUS AYALA, et al.                                )
                                                             )

           THIS MATTER is before the Court on the government’s second motion to unseal plea

agreements an plea hearing minutes for certain defendants in this case. (Doc. No. 954). None of

the defendants have objected to the motion and the Court finds such action is in the interest of

justice.

           IT IS, THEREFORE, ORDERED that the government’s motion is GRANTED in part,

and the plea agreements and plea hearing minutes of the following defendants are UNSEALED:

           (8)    Jose Amilcar Garcia-Bonilla; and

           (12)   Mario Melgar-Diaz


                                                 Signed: June 8, 2010




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